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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEW JERSEY


 In re:                                                                         Case No. 20-12465 (JKS)
                                                                                Jointly Administered
 HAJJAR BUSINESS HOLDINGS, LLC, et al., 1
                                                                                Chapter 11
                           Debtors.


                                              ADJOURNMENT REQUEST

          1. I, Anthony Sodono, III,

                     am the attorney for Hajjar Business Holdings, LLC, et al., in the above-referenced
                     bankrutpcy proceeding and request an adjournment of the following hearing for
                     the reason set forth below.

                Matters: Debtor’s Motion Determining Security Deposit Is Property of the Estate
                         Pursuant to 11 U.S.C. §§ 105(a), 541 and 542, filed on May 27, 2021
                         [Docket No. 625]

                Current hearing date and time:                  March 1, 2022 at 10:00 a.m.

                New date requested:                             April 5, 2022 at 10:00 a.m.

                Reasons for adjournment request: Parties have reached settlement and are finalizaing
                the settlement agreement.



1
  The debtors in these Chapter 11 cases, are as follows: Hajjar Medical Office Building of Wayne, LLC; Hajjar Business Holdings, LLC; Hajjar
Medical Office Building of Roseland, LLC; Hajjar Medical Building of Carlstadt, LLC; Hajjar Medical Office Building of Fairlawn, LLC; Hajjar
Medical Office Building of Glen Rock, LLC; Hajjar Medical Office Building, LLC; Hajjar Medical Office Building of Hackensack, LLC; Hajjar
Medical Office Building of Jersey City, LLC; Hajjar Warehouse of Hackensack, LLC; Hajjar Medical Office Building of Mount Kisco, LLC;
Hajjar Office Building of Miramar, LLC; Hajjar Medical Office Building of New Brunswick, LLC; HMOB of Mt. Kisco Owner, LLC; HMOB of
New Brunswick Owner, LLC; HMOB of Roseland Owner, LLC; HMOB of Jersey City Owner, LLC; HMOB of Carlstadt Owner, LLC; HMOB
of Fair Lawn 15-01 Broadway Owner, LLC; HMOB of Fair Lawn Owner, LLC; HMOB of Glen Rock Owner, LLC; HMOB of Hackensack
Office Owner, LLC; HMOB of Hackensack Warehouse Owner, LLC; HMOB of Miramar Owner, LLC; HMOB of Oradell Owner, LLC; and
HMOB of Wayne Owner, LLC (collectively, the “Debtors”).
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         2. Consent to adjournment:

                  I have the consent of all parties.             I do not have the consent of all
                          (explain below):


         I hereby certify under peanlty of perjury that the foregoing is true.

         Date: February 25, 2022                           /s/ Anthony Sodono, III
                                                           Anthony Sodono, III




         COURT USE ONLY
         ___________________________________________________________________________

         The request for adjournment is:

         X Granted                        New hearing date:     4/5/2022 @ 10:00
         Peremptory

             Granted over objection(s) New hearing date:
         Peremptory

              Denied



         IMPORTANT: If your request is granted, you must notify interested parties who are
         not electronic filers of the new hearing date.




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4853-9755-4438, v. 1
